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STATE OF LKa NSA S
COUNTY OF _/20/@sk,

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

PATRICIA WALKER-SWINTON PLAINTIFF
Vv. CASE NO. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE; AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,

I INDIVIDUAL AND OFFICIAL CAPACITY;

AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,

ACADEMIC AFFAIRS, IN HIS INDIVIDUAL AND

OFFICIAL CAPACITY DEFENDANTS

AFFIDAVIT OF ANGELIA ALEXANDER

Tam Angelia Alexander.

I am at all times competent to make this affidavit.

Iam an alumna of Philander Smith College.

Ms. Swinton started at Philander while I was in the PSMI program. I noticed that she was always

working late tutoring students after hours.

5, After she became Head Coach in fail 2012, the campus family started having more spirit. The
girls looked

6. lLalso saw an increase in attendance at the games, especially homecoming.

fw Ny

7. Iwas actually excited to attend the games,

   

gota

Further, affiant sayeth not. (bp
Hi

Angelit/ Alexander, Affiant

 

NOTARY

STATE or 71K. a
COUNTY OF |

Affiant, Angelia Alexander being first duly sworn under oath, presents that he has
read and subscribed to the above Affidavit and states that the information therein was

provided by him and is true and correct. sof fe [
SUBSCRIBED AND SWORN to before me this ‘day of [CLV Raf 2020.

brite?

__ | Nétary Pubti
My commission expires: F / albot ‘7 y

  

Notary Public-Arkansas
. Pulaski County
fity Commission Explres 03-01-2027

EXHIBIT

Commission # 12700133 '

 
